9/17/21, 8:39 AM           Case 1:22-cv-00704 Document 1-2    Filed 07/15/22 Page 1 of 15
                                                        Ginac-Final-with-BM-Ext




                                                                                                 Exterior Proposal
                                                                                                                  Job #: JOB-1300-5254
                                                                                                                        Date 09/16/2021



PREPARED FOR

Frank Ginac
 7904 Aspen Highlands Dr                          512-788-3882           frank.ginac@gmail.com
   Austin , TX 78746

PREPARED BY

                                     (512) 923-3889                   CertaPro Painters of Austin
                                     matthewdykes@certapro.com        (512) 323-9502
                                                                       http://Austin.certapro.com
                                                                       12444 Research Blvd.
                                                                       Austin, TX 78759




Matthew Dykes
Residential Sales Associate

PRICE SUMMARY

Base Price:                                                                                                                      $1,358.00
Cost addition for Aquacoat and inside of tower in master bath                                                                    $1,075.00
and cabinet above toilet
Insurance Covered Interior items - all surfaces listed included in                                                              $13,375.00
this price
Insurance Covered interior trim and doors                                                                                             $0.00
Insurance Covered Walls and Ceilings                                                                                                  $0.00
Kitchen Cabinets                                                                                                                 $4,990.00
New Office and Master bath cabinets. (Inside and out for office                                                                  $3,250.00
only).
Non insurance Option to upgrade non-stucco to Regal                                                                                $788.00
Remaining Left, Front, and Rear Elevations (same materials as                                                                   $11,308.00
the right)
Right Elevation Exterior Stucco                                                                                                       $0.00
Right elevation Non-Stucco                                                                                                            $0.00
Trim 1 coat staying same                                                                                                        -$1,500.00
color
Subtotal:                                                                                                                       $34,644.00
Total:                                                                                                                          $34,644.00
Balance                                                                                                                         $34,644.00

PROJECT SUMMARY

Included in the price above: Cost addition for Aquacoat and inside of tower in master bath and cabinet above toilet, Insurance
Covered Interior items - all surfaces listed included in this price, Insurance Covered interior trim and doors, Insurance Covered Walls
and Ceilings , Kitchen Cabinets, New Office and Master bath cabinets. (Inside and out for office only)., Non insurance Option to
upgrade non-stucco to Regal, Remaining Left, Front, and Rear Elevations (same materials as the right), Right Elevation Exterior
Stucco, Right elevation Non-Stucco

https://certaone-app.certapro.com                                                                                                         1/6
                                                                                    Doc ID: 4f2366164e15016e8d35c3e739009e2a8350c429
9/17/21, 8:39 AM           Case 1:22-cv-00704 Document 1-2    Filed 07/15/22 Page 2 of 15
                                                        Ginac-Final-with-BM-Ext

PROJECT DETAILS

Note: Pricing listed as main bid $1358 is for the right elevation of the home per insurance. The stucco is a hand troweled texture and
require 2 heavy coats to be applied with Spray and Backroll. Heavy powerwash of the area included in the pricing. Excludes the
garage doors.

Pricing for the left, front, and rear elevations is broken out separately below. Excludes Stained garage doors, stained front doors, Stone
Band around the house, and stone railing around the home.

Interior Insurance portion. Walls, Ceiling, baseboards, crown moulding, doorframes, and doors in the following areas: Vaulted entry
ending at the edge of the hallway, formal dining room, hallway near kitchen ending at the corner before going up the stairs, hallway to
master bedroom and office, family room, office, hall closet, spare bathroom next to master, master bedroom, master bathroom, toilet
closet, linen closet in master bathroom, and master closet.

Office: Wall paneling flat surfaces to have Aquacoat applied to reduce the appearance of wood grain. This includes 10 man hours plus
1 gallon of Aquacoat.

ADDING: Stairway upstairs ending at the top excluding ceiling upstairs. Same surfaces listed above for the kitchen and nook area.

All new textured areas to be primed prior to painting. All trim items and doors need to be repainted to allow for color match. Office
paneling to be sanded, oil primed, and painted 2 coats of enamel. Doors in the areas included will be a separate color and to be
sprayed - customer will have doors off and PLACED Next to doo they go to when we begin. The Wall in the family room with all the
built ins to have everything except the mantle and area above the mantle to be painted the same color - wall color duration flat finish.

Option for Kitchen Cabinets exterior only except the 2 glass cabinets to be sanded, oil primed, sanded, and painted 2 coats of enamel
is listed below. Glass cabinets to have interior painted as well.

Option to upgrade the non-stucco items on the exterior to Sherwin Williams Emerald for the best color retention, durability, and
dirt/mildew rejection is listed below.

Office bookcases and cabinets - inside and out of the new built in listed below - same process as kitchen cabinets. Included in that
option is the master bath room 2 vanities (exterior and both sides of doors only), tower linen storage (Inside and Out), medicine cabinet
(Exterior both sides of door), and cabinet above the toilet (inside and out) to be painted as well.

Colors: All walls and ceilings: Sherwin Shoji White
Trim and doors: Match existing mid tone color.
Tray insets in the family room, dining room, and master bedroom: BM Gray Owl 2137-60
Wall in family room with fireplace - all surfaces including shelves, BM Gray Owl 2137-60
Kitchen Cabinets: BM Swiss Coffee
Kitchen Island: BM Mt Rainier Gray 2129-60
Office: Walls with Built Ins BM Colorado Gray 2136-50
Office paneled walls up to crown (the other 3 walls: Shoji White Semi-gloss Emerald UTE
Master Bath 2 vanities, tower (including inside), and cabinet above toilet (including inside): BM Silver cloud 2137-60

Exterior: Everything that is Yellow stucco to be painted SW Snowbound.
All trim items That are currently white to be SW Respose gray.
All stone railing/spindles and lower band to be protected and not painted.
                               Paint                       Sheen           Color                              Paint / Primer Coats
Cost addition for Aquacoat and inside of tower in master bath and cabinet above toilet           $1,075.00
                                    Emerald Urethane Trim   Semi-Gloss          TBD                           2/1
                                    Enamel-Urethane
    Paint Brands: Sherwin-Williams
Insurance Covered Interior items - all surfaces listed included in this price       $13,375.00




https://certaone-app.certapro.com                                                                                                          2/6
                                                                                      Doc ID: 4f2366164e15016e8d35c3e739009e2a8350c429
9/17/21, 8:39 AM           Case 1:22-cv-00704 Document 1-2    Filed 07/15/22 Page 3 of 15
                                                        Ginac-Final-with-BM-Ext

Insurance Covered interior trim and doors             $0.00
                                    Emerald Urethane Trim     Semi-Gloss          Match Existing                1
                                    Enamel-Urethane
    Paint Brands: Sherwin-Williams
Insurance Covered Walls and Ceilings              $0.00
                                    Duration-Acrylic Latex    Flat                TBD                           2
    Paint Brands: Sherwin-Williams
Kitchen Cabinets        $4,990.00
                                    Emerald Urethane Trim     Semi-Gloss          TBD                           2/1
                                    Enamel-Urethane
    Paint Brands: Sherwin-Williams
New Office and Master bath cabinets. (Inside and out for office only).           $3,250.00
                                    Emerald Urethane Trim     Semi-Gloss          TBD                           2/1
                                    Enamel-Urethane
    Paint Brands: Sherwin-Williams
Non insurance Option to upgrade non-stucco to Regal             $788.00
                                    Regal MooreGuard-         Satin               TBD                           2
                                    Acrylic Latex
    Paint Brands: Benjamin Moore
Remaining Left, Front, and Rear Elevations (same materials as the right)            $11,308.00
                                    Ultraspec Masonry         Flat                Match Existing                2
                                    Waterproof Coatings-
                                    Elastomeric
    Paint Brands: Benjamin Moore
Right Elevation Exterior Stucco
                                    Ultraspec Masonry         Flat                Snowbound SW                  2
                                    Weather proof
                                    coatings-Elastomeric
    Paint Brands: Benjamin Moore
Right elevation Non-Stucco
                                    Regal MooreGuard-         Satin               TBD                           2
                                    Acrylic Latex
    Paint Brands: Benjamin Moore


SET-UP


CUSTOMER TO:                                                               CERTAPRO WILL COVER & PROTECT
Clear all small or breakable items off of the porch(s) and deck(s)         Light fixtures , Windows
, Keep car away from house

CERTAPRO WILL                                                              EXCLUSIONS
Paint Stucco , Paint Soffit , Paint Back Door , Paint Door Frames          Any surface not specified in the proposal , Garage Door(s) ,
, Paint Downspouts , Paint Fascia , Paint Gutters , Paint Porch            Railings ,Stone band around home
Ceiling(s) , Paint Trim


PREPARATION

        Caulk previously caulked gaps and cracks
        Prime where necessary
        Scrape loose and peeling paint
        Spot prime where bare wood



CLEAN-UP


https://certaone-app.certapro.com                                                                                                         3/6
                                                                                        Doc ID: 4f2366164e15016e8d35c3e739009e2a8350c429
9/17/21, 8:39 AM           Case 1:22-cv-00704 Document 1-2    Filed 07/15/22 Page 4 of 15
                                                        Ginac-Final-with-BM-Ext

Daily: Ladders are taken down and stored in a designated area along with all other tools and supplies. All debris will be swept and
removed from the property or deposited in the appropriate trash receptacle according to the customer's preference.
Upon Completion: All tools, supplies & equipment will be removed from the property.

NOTES

OUR CERTAINTY SERVICES SYSTEM -- To ensure that the project meets your expectations, we will:
     Communicate with you daily to inform you of what has been completed, what will be done tomorrow and any possible issues.
     Have you do a final inspection with us to make sure that you are completely satisfied with the completed project.

ADDITIONAL NOTES

PICKING YOUR COLORS: We will need the color name and/or color number, and sheen that you would like us to use. Color choices
should be given to CertaPro Painters no later than 1 days before your project start date to avoid delays.
COLOR CONSULTATION: Ask your sales associate for details regarding a free color consultation!

3rd COAT OF PAINT: There are certain paint colors (especially bold deep colors) that may require more than two (2) coats of paint
to achieve proper hiding. Often times at the time of the estimate we do not know what customer's final color choice will be; should the
customer select one of these hard to cover colors CertaPro Painters reserves the right to amend the proposal for the additional labor
and materials.
ROTTING WOOD: If rotted wood is identified during the painting project, you will be notified. It is not always possible to identify rotting
wood during the estimating process.
CLAY ROOF TILES: Roof tiles can become very brittle over time and CertaPro cannot be held responsible for broken tiles if our crew
needs to walk on them or work above them on certain projects.
PAYMENT METHODS: We accept cash, checks, credit cards, and bank transfers. The price quoted includes a 2.25% discount for cash
or check payment. Credit card payment can be made on our website (austin.certapro.com) or by calling our office (512-323-9502).

PAYMENT TERMS: Full payment for services and materials rendered pursuant to this proposal is DUE IMMEDIATELY UPON
COMPLETION OF THE JOB.
Late Payment Penalty: A 3% fee will be incurred for any late payment beyond 1 week of the completion date. A 5% fee will be added
for each subsequent week thereafter.

SIGNATURES




Authorized Franchise Representative Signature                                                   Date


                                                                PAYMENT


EZpay Option: 6 Months


Loans provided by EnerBank USA, Member FDIC, (1245 Brickyard Rd., Suite 600, Salt Lake City, UT 84106) on approved credit, for a
limited time. Repayment terms vary from 18 to 126 months. Interest waived if repaid in 180 days. 17.99% fixed APR, effective as of
04/01/2020, subject to change. Interest starts accruing when the loan closes. EnerBank USA is a fair housing lender and makes loans
without regard to race, color, religion, national origin, sex, handicap, or familial status.


Payment is due: In full upon job completion




https://certaone-app.certapro.com                                                                                                       4/6
                                                                                     Doc ID: 4f2366164e15016e8d35c3e739009e2a8350c429
9/17/21, 8:39 AM             Case 1:22-cv-00704 Document 1-2    Filed 07/15/22 Page 5 of 15
                                                          Ginac-Final-with-BM-Ext



                                                                DECLARATION OF CONTRACT
(I/We) Have read the terms stated herein, they have been explained to (me/us) and (I/we) find them to be satisfactory, and hereby
accept them.


                                                                                                                10 / 07 / 2021
Customer Signature                                                                                                 Date



                                          DEFINITIONS AND CONDITIONS OF THIS CONTRACT

RELATIONSHIP — The individual giving you this proposal is an independent contractor licensed by CertaPro Painters® to use its systems and trademarks to operate a
painting franchise. The work will be completed by the independent franchised contractor. Please make any check payable to the franchise shown on the front of this
proposal.

COLORS — Colors may be chosen by the client prior to commencement of work. If, after the job starts, a color change is required, the independent Contractor will have
to charge for time and material expenses incurred on the original color.

UNFORESEEN CONDITIONS — Should conditions arise which could not be determined by visual inspection prior to starting work, the client must pay an agreed upon
extra for the completion of such work.

PROPOSAL — This proposal is valid for 60 days after it was written. In addition, the Independent Franchised Contractor should be informed of your desire to have the
work done and receive a signed copy of the proposal before work is to be started.




                                                                   ATTENTION CLIENT:
YOU, THE BUYER, MAY CANCEL THIS TRANSACTION AT ANY TIME PRIOR TO MIDNIGHT OF THE THIRD BUSINESS DAY AFTER THE DATE OF THIS
TRANSACTION. SEE THE BELOW NOTICE OF CANCELLATION FOR AN EXPLANATION OF THIS RIGHT. (SATURDAY IS A LEGAL BUSINESS DAY IN
CONNECTICUT.) THIS SALE IS SUBJECT TO THE PROVISIONS OF THE HOME SOLICITATION SALES ACT AND THE HOME IMPROVEMENT ACT. THIS
INSTRUMENT IS NOT NEGOTIABLE.


                                                             NOTICE OF CANCELLATION

YOU MAY CANCEL THIS TRANSACTION, WITHOUT ANY PENALTY OR OBLIGATION, WITHIN THREE BUSINESS DAYS FROM THE ABOVE DATE. IF YOU
CANCEL, ANY PROPERTY TRADED IN, ANY PAYMENTS MADE BY YOU UNDER THE CONTRACT OR SALE, AND ANY NEGOTIABLE INSTRUMENT EXECUTED
BY YOU WILL BE RETURNED WITHIN TEN BUSINESS DAYS FOLLOWING RECEIPT BY THE SELLER OF YOUR CANCELLATION NOTICE, AND ANY SECURITY
INTEREST ARISING OUT OF THE TRANSACTION WILL BE CANCELLED. IF YOU CANCEL, YOU MUST MAKE AVAILABLE TO THE SELLER AT YOUR
RESIDENCE IN SUBSTANTIALLY AS GOOD CONDITION AS WHEN RECEIVED, ANY GOODS DELIVERED TO YOU UNDER THIS CONTRACT OR SALE; OR YOU
MAY, IF YOU WISH, COMPLY WITH THE INSTRUCTIONS OF THE SELLER REGARDING THE RETURN SHIPMENT OF THE GOODS AT THE SELLER'S
EXPENSE AND RISK. IF YOU DO MAKE THE GOODS AVAILABLE TO THE SELLER AND THE SELLER DOES NOT PICK THEM UP WITHIN TWENTY DAYS OF
THE DATE OF CANCELLATION, YOU MAY RETAIN OR DISPOSE OF THE GOODS WITHOUT ANY FURTHER OBLIGATION. IF YOU FAIL TO MAKE THE GOODS
AVAILABLE TO THE SELLER, OR IF YOU AGREED TO RETURN THE GOODS AND FAIL TO DO SO, THEN YOU REMAIN LIABLE FOR PERFORMANCE OF ALL
OBLIGATIONS UNDER THE CONTRACT. TO CANCEL THIS TRANSACTION, MAIL OR DELIVER A SIGNED AND DATED COPY OF THIS CANCELLATION NOTICE
OR ANY OTHER WRITTEN NOTICE, OR SEND A TELEGRAM TO:

Name of Seller   CertaPro Painters of Austin



DATE OF TRANSACTION
NOT LATER THAN MIDNIGHT OF



I HEREBY CANCEL THIS TRANSACTION




(Buyer's Signature)                                                                                                (Date)

                                                         LIMITED TWO YEAR WARRANTY


https://certaone-app.certapro.com                                                                                                                                  5/6
                                                                                                      Doc ID: 4f2366164e15016e8d35c3e739009e2a8350c429
9/17/21, 8:39 AM              Case 1:22-cv-00704 Document 1-2    Filed 07/15/22 Page 6 of 15
                                                           Ginac-Final-with-BM-Ext
Subject to the limitation set forth below, for a period of 24 months from the date of completion of the work described on the front of this contract, the Independent
Franchise Owner named on the front of this contract (the "Contractor") will repair peeling, blistering or chipping paint resulting from defective workmanship.

THIS LIMITED WARRANTY DOES NOT COVER:

         Any work where the Contractor did not supply the paint or other materials.
         Any work which was not performed by the Contractor.
         Varnished surfaces.
         Surfaces made of, or containing, galvanized metal.
         The cost of paint required to perform the repairs.
         Repairs to horizontal surfaces or any surface that, by virtue of its design permits moisture to collect. Surfaces include, but are not limited to, decks, railings,
         stairs, porches, roofs and wood gutters.
         Exact paint match as environmental conditions will affect the color and finish of all paints over time.
         Any repairs which are necessitated as a result of a defect in the paint regardless of whether the paint was supplied by the Contractor or the customer.
         Bleeding caused by knots, rust or cedar.
         Cracks in drywall, plaster or wood.
         Peeling, blistering or chipping where they are caused by:
                   mill-glazing from smooth cedar
                   ordinary wear and tear.
                   abnormal use or misuse.
                   peeling of layers of paint existing prior to the work performed by the Contractor.
                   structural defects.
                   settling or movement.
                   moisture content of the substrate.
                   abrasion, mechanical damage, abrasive cleaning, abuse or damage resulting from use of chemicals or cleaning agents or exposure to harmful solids,
                   liquids or gases.
                   damage or defects caused in whole or in part by reason of fire, explosion, flood, acts of God, extreme weather conditions, misuse, alteration, abuse,
                   vandalism, negligence, or any other similar causes beyond the control of the Contractor.

Repairs under this limited warranty will be performed only on the specific areas where peeling, blistering or chipping has occurred and only to the level of surface
preparation described in the preparation section of the Contract.

FOR THIS WARRANTY TO BE VALID, YOU MUST:

         Pay the full contract price.
         Retain a copy of the original contract.
         Retain a copy of your cancelled check or other evidence of payment in full.
         Pay for all materials used to perform the repairs.
         Make the property accessible to the Contractor, or his employees, to perform the repairs.

THIS LIMITED WARRANTY IS THE ONLY EXPRESS WARRANTY MADE BY THE CONTRACTOR AND IS IN LIEU OF ALL OTHER WARRANTIES, EXPRESS OR
IMPLIED. THIS WARRANTY COVERS ONLY THOSE SERVICES PROVIDED BY THE CONTRACTOR TO THE ORIGINAL PURCHASER NAMED ON THE FRONT
OF THIS CONTRACT. IN NO EVENT SHALL THE CONTRACTOR BE LIABLE FOR INCIDENTAL OR CONSEQUENTIAL DAMAGES IN EXCESS OF THE ORIGINAL
CONTRACT PRICE. THIS WARRANTY MAY NOT BE ALTERED OR EXTENDED FOR ANY PURPOSE UNLESS DONE SO IN WRITING IN A DOCUMENT
EXECUTED BY ALL PARTIES TO THIS CONTRACT.

This warranty gives you specific legal rights. Some jurisdictions do not allow limitations on how long an implied warranty lasts, so the above limitation may not apply to
you. Some jurisdictions do not allow the exclusion or limitation of incidental or consequential damages, so the above limitations or exclusions may not apply to you.

For warranty service, you should contact your Contractor to schedule an inspection of your property by calling CertaPro Painters® at 800.462.3782.




https://certaone-app.certapro.com                                                                                                                                         6/6
                                                                                                          Doc ID: 4f2366164e15016e8d35c3e739009e2a8350c429
                Case 1:22-cv-00704 Document 1-2 Filed 07/15/22 Page 7 of 15

                                                                                       Audit Trail

Title
                              CertaPro Painters Signature Required
File Name
                          Ginac, Frank.pdf
Document ID
                        4f2366164e15016e8d35c3e739009e2a8350c429
Audit Trail Date Format
            MM / DD / YYYY
Status                                Completed




                 09 / 17 / 2021     Sent for signature to Ginac, Frank (frank.ginac@gmail.com)
                 13:40:29 UTC       from gnunez@certapro.com
                                    IP: 24.227.136.238




                 10 / 07 / 2021     Viewed by Ginac, Frank (frank.ginac@gmail.com)
                 17:08:11 UTC       IP: 66.90.173.1




                 10 / 07 / 2021     Signed by Ginac, Frank (frank.ginac@gmail.com)
                 17:09:28 UTC       IP: 66.90.173.1




                 10 / 07 / 2021     The document has been completed.
                 17:09:28 UTC
Case 1:22-cv-00704 Document 1-2 Filed 07/15/22 Page 8 of 15
Case 1:22-cv-00704 Document 1-2 Filed 07/15/22 Page 9 of 15
Case 1:22-cv-00704 Document 1-2 Filed 07/15/22 Page 10 of 15
Case 1:22-cv-00704 Document 1-2 Filed 07/15/22 Page 11 of 15
Case 1:22-cv-00704 Document 1-2 Filed 07/15/22 Page 12 of 15
Case 1:22-cv-00704 Document 1-2 Filed 07/15/22 Page 13 of 15
                    Case 1:22-cv-00704 Document 1-2 Filed 07/15/22 Page 14 of 15

01234ÿ416710378ÿ9ÿ40301ÿ
   ÿÿ46 00
                                                   ÿ699ÿ4
 ÿ"#$%&'&ÿ(ÿ)ÿ*+,-ÿ., ÿ/0ÿ12)3-ÿ,ÿ)2041,25ÿ03ÿ662ÿ2ÿ20ÿ372,7ÿ(28ÿ 9,99ÿÿ03
66 ÿÿ*+,-ÿ7 6--ÿ)ÿ)2041,25ÿ03ÿ662ÿ2ÿ20ÿ372,7ÿ),-ÿ3,0ÿ,ÿ-725ÿ3 0ÿ, 0ÿ(60ÿ,ÿ15ÿ(ÿ)
3 0ÿ:)ÿ)ÿ;((ÿ(ÿ)ÿ2,25ÿ(ÿ,%ÿ
; ÿ)-ÿ-<ÿ57ÿ, ÿ-,2)ÿ(2ÿ0=07,6-ÿ, 0ÿ -ÿ),ÿ),=ÿ(60ÿ03ÿ662ÿ3 0-ÿ:)ÿ)ÿ;((ÿ(ÿ)ÿ2,25
(ÿ,%ÿ*)ÿ-,2)ÿ2-76-ÿ:66ÿ0,<ÿ>?ÿ9@ÿÿA@9BA9@ÿA?ÿCAÿÿ Aÿ9ÿÿ4Dÿ9ÿ4<
:))2ÿ)ÿ3 0ÿ-ÿ,=<ÿ1 09ÿ, 66, <ÿ2ÿ),-ÿ3 ÿ, 660%ÿE66ÿ(60-ÿ0-16,50ÿ,2ÿ-,2),36%
ÿ699ÿFAÿGB                                    4G>
                                                               ÿ
HA@AIÿB
 J0:,20ÿK6((
3??>>

 6AD

 4                                                      LAIÿ69?
  ÿ
 9@?A@Mÿ69BI@DÿB
 ,2)ÿÿÿÿÿÿ,2ÿ;=2ÿ
F9G@?Nÿ"ÿÿA>ID?Nÿÿ"
  O21,6ÿP,8Qÿ1?C?ÿR9ÿSÿ3>>9A>                                Tÿ&
  E002--Q             UVVÿÿ6@ÿ1WIDÿ4ÿXYZUÿÿ
                       H@9[ÿ02ÿZUVZ\ÿ
  .6ÿP7832Q         ]V^UVV_`ÿ
  ,7-Q              6@?ÿ69>ÿFAÿ
  a,ÿ.60Q          Ub\b]V^Uÿ
  /, 66, ÿa,Q ÿ
  O) Q               ÿ
  c 09ÿ/81, 5Q 4G0ÿd@>G@ÿ69BI@Dÿÿ
  c 0ÿPQ             YYZ\]\eÿ
  O21,6ÿP,8Qÿ1?C?ÿR9ÿSÿ3>>9A>                                Tÿ$
  E002--Q           UVVÿÿ6@ÿ1WID[ÿ4ÿYZUÿÿ
                     H@9[ÿ02ÿZUVZ\ÿ
                   Case 1:22-cv-00704 Document 1-2 Filed 07/15/22 Page 15 of 15
   0123ÿ567839               ÿ
   6               ÿÿÿ
   3ÿ0123              !"! ÿ
   #$%3221&$ÿ3    !"! 'ÿ
   ()&$3                ÿ
   *&$ 1$+ÿ#&7,$-      ./01ÿ2/0ÿ345ÿÿ
   *&$ ÿ5&              66'7 78ÿ
   (91$%1,2ÿ573ÿ9:0ÿ;<<ÿ=ÿ>?                 @ÿA
   B 93              ÿCÿ?0ÿ9D40:5ÿ./?ÿ6'ÿÿ
                      EFÿ1Gÿ' '7ÿ
   0123ÿ567839                ÿ
   6             ÿÿÿ
   3ÿ0123          ! ! ÿ
   #$%3221&$ÿ3 "!"! ÿ
   ()&$3              ÿ
   *&$ 1$+ÿ#&7,$- ÿ;HI?ÿ2?0?ÿ2/0ÿ345
   *&$ ÿ5&            .J  86 ÿ

K$96%1&$ÿÿ
    L)393ÿ1ÿ$&ÿM33ÿM&9ÿ)1ÿ39N1%3Oÿ
    P12%9ÿ39%)3ÿ93ÿ,39713 ÿM&9ÿ38ÿ%&223%&9ÿ,91$%1,2ÿ$73OÿQR7,23ÿ(91$%1,2ÿ573ÿ>STÿ
    B 933ÿ,9&N13 ÿU393ÿ%6993$ÿ&$ÿ)3ÿ3ÿ)3ÿ38ÿ#&223%&9ÿUÿ93+1393 OÿL)3ÿ 93ÿ,9&N13 ÿ7-ÿ$&ÿ2&$+39ÿ83
N21ÿ1Mÿ)3ÿ6ÿ1ÿ%2&3 Oÿ
